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  IT IS ORDERED as set forth below:



   Date: November 9, 2022

                                           _____________________________________
                                                      Wendy L. Hagenau
                                                 U.S. Bankruptcy Court Judge

_______________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 IN RE:                                         CHAPTER 11

 GROUP MANAGEMENT CORP.,                        Case No. 03-93031-WLH

                       DEBTOR.


 ORDER AND NOTICE OF HEARING ON ORDER TO SHOW CAUSE AS TO WHY
ULYSSES T. WARE SHOULD NOT BE DEEMED A VEXATIOUS LITIGANT AND BE
           PROHIBITED FROM FURTHER FILINGS IN THIS CASE
       On October 24, 2022, the Court entered an order (Doc. No. 256) (the “Order”) directing

Ulysses T. Ware (“Mr. Ware”) to show cause within fourteen (14) days as to why he should not

be deemed a vexatious litigant and be prohibited from filing, sending, or otherwise delivering

documents for filing in this closed bankruptcy case. Mr. Ware responded to the Show Cause Order
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(Doc. No. 260) and requested the Court hold a hearing to allow him an opportunity to respond.

Accordingly,

       IT IS ORDERED AND NOTICE IS GIVEN that the Court will hold a hearing only on

the portion of the Order directing Mr. Ware to show cause as to why he should not be deemed a

vexatious litigant and be prohibited from filing, sending, or otherwise delivering documents for

filing in this closed bankruptcy case on December 8, 2022 at 10:00 a.m. The hearing will be

limited to one hour. The hearing will be conducted by video conference via Zoom

(https://www.zoomgov.com/j/1612021574?pwd=RW41dk16bis5K2FEWlk5Yldub1kyUT09#suc

cess). Please review the “Hearing Information” tab on the judge’s webpage, which can be found

under the “Dial-in and Virtual Bankruptcy Hearing Information” link at the top of the webpage for

this Court, www.ganb.uscourts.gov for more information.

                                       END OF ORDER



Distribution List

Ulysses T. Ware
The Office of Ulysses T. Ware
123 Linden Blvd.
Ste 9-L
Brooklyn, N 11226
                    Case 1:25-cv-00613-MLB                            Document 5-8               Filed 03/07/25               Page 3 of 3
                                                               United States Bankruptcy Court
                                                                Northern District of Georgia
In re:                                                                                                                 Case No. 03-93031-wlh
Group Management Corp.                                                                                                 Chapter 11
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 113E-9                                                   User: bncadmin                                                             Page 1 of 1
Date Rcvd: Nov 09, 2022                                                Form ID: pdf534                                                           Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 11, 2022:
Recip ID                   Recipient Name and Address
db                     +   Group Management Corp., c/o Ulysses T. Ware, The Office of Ulysses T. Ware, 123 Linden Blvd, Ste 9-L, Brooklyn, NY 11226-9725
aty                    +   Sims W. Gordon, Jr., The Gordon Law Firm, PC, Suite 1500, 400 Galleria Parkway, SE, Atlanta, GA 30339-5953
op                     +   Ulysses T. Ware, 123 Linden Blvd, Suite 9-L, Brooklyn, NY 11226-9725
                       +   Ulysses T. Ware, The Office of Ulysses T. Ware, 123 Linden Blvd., Ste 9-L, Brooklyn, N 11226-9725

TOTAL: 4

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 11, 2022                                            Signature:           /s/Gustava Winters




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 9, 2022 at the address(es) listed
below:
Name                                  Email Address
Office of the United States Trustee
                                      ustpregion21.at.ecf@usdoj.gov

Thomas Ware
                                      on behalf of Debtor Group Management Corp. utware007@gmail.com


TOTAL: 2
